              Case 2:16-cr-00080-RMP      ECF No. 137        filed 02/02/17        PageID.390 Page 1 of 1
orate✎ PS 8
(3/15)


                             UNITED STATES DISTRICT COURT
                                                           for
                                          Eastern District of Washington


 U.S.A. vs.                     Myrick, Tracy                         Docket No.               2:16CR00080-RMP-1

                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik B. Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Tracy Myrick, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
Mary K. Dimke, sitting in the Court at Spokane, Washington, on the 14th day of April, 2016, under the following
conditions:

Special Condition #12: Defendant shall refrain from any use of alcohol.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #7: The defendant tested positive for the presence of alcohol on January 24, 2017.

  PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATIONS
                       PREVIOUSLY REPORTED TO THE COURT
                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:       February 1, 2017
                                                                 by       s/Erik Carlson
                                                                          Erik Carlson
                                                                          U.S. Pretrial Services Officer

 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [X]      The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the case.
 [X]      Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                            Signature of Judicial Officer

                                                                              02/02/2017
                                                                            Date
